Case 1:16-cv-02050-MLB Document 133 Filed 08/08/18 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
ALAN E. ROBLES )
)
Plaintiff, )
)
Vv. ) Case No. 1:16-CV-02050-MLB
)
QUIKTRIP CORPORATION )
)
)
)
Defendant. )
)

 

DISMISSAL WITH PREJUDICE
COMES NOW, ALAN E. ROBLES, Plaintiff in the above-captioned matter,

and dismiss this action with prejudice.

This & K* day of Avqust , 2018.

Respectfully submit

    

 

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Elizabeth A. George

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Case 1:16-cv-02050-MLB Document 133 Filed 08/08/18 Page 2 of 4

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IN THE UNITED STATES DISTRICT COURT
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)
Defendant. )
)

 

CERTIFICATE OF SERVICE
I hereby certify that on A V4 vet x , 2018, copies of Dismissal with
Prejudice were electronically served with the Clerk of Court using the CM/ECF
system which will automatically send notification of such filing to the following

attorneys of record:

Nicole C. Leet
Gray, Rust, St. Amand, Moffett & Brieske, L.L.P.
1700 Atlanta Plaza
950 East Paces Ferry Rd.
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this % “aay of August , 2016
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Pay Y.Shth
orgia Bar No.
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